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                            UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MAINE

 MICHELLE MACDONALD,          )
                              )
      Plaintiff,              )
                              )
 v.                           ) Civil Action No. 1:22-cv-00024-NT
                              )
 BREWER SCHOOL DEPARTMENT, et )
 al.,                         )
                              )
      Defendants.             )


 REPLY IN SUPPORT OF INDIVIDUAL DEFENDANTS’ MOTION TO DISMISS FOR
                      FAILURE TO STATE A CLAIM

       Gregg Palmer, Cheri Towle, Brent Slowikowski, Renita Ward-Downer, Paul Wellman,

and Breanne Pelletier (collectively, the “Individual Defendants”) hereby respond to new matters

raised in Plaintiff’s Opposition to their motion to dismiss.

                                          DISCUSSION

I.     There is No Individual Liability Under the MHRA

       In an effort to save her MHRA claim against Breanne Pelletier, Plaintiff begins her

opposition to the Individual Defendants’ motion to dismiss by attempting to distinguish the

Maine Law Court’s decision in Furhmann v. Staples Office Superstore East, Inc., 2012 ME 135,

58 A.3d 1083. Thus, she argues that notwithstanding the unambiguous holding by Maine’s

highest court that there is no individual liability for employment discrimination under the

MHRA, this Court should allow her claim against Ms. Pelletier to survive because 5 M.R.S. §

4633(1) makes it unlawful for a “person” rather than an “employer” to discriminate against an

individual for opposing an action that is unlawful under the Act. The Maine Law Court has not




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yet had the occasion to specifically construe Section 4633 which is something that this Court has

found significant in refusing to find that there is individual liability in a prior case:

           In the absence of any state authority for her self-proclaimed position, it is noteworthy that
           the First Circuit has cautioned litigants who choose to come to federal rather than state
           court that they “cannot expect that new trails will be blazed.” Hearts With Haiti, Inc. v.
           Kendrick, No. 2:13-cv-00039-JAW, 2015 WL 3649592, at * 3 (D. Me. June 9, 2015)
           (quoting Ryan v. Royal Ins. Co. of Am., 916 F.2d 731, 744 (1st Cir. 1990)). In the face of
           such novel questions of state law, “litigants must provide a federal court with a ‘well-
           plotted roadmap showing an avenue of relief that the state’s highest court would likely
           follow.’ ” Id. (quoting Ryan, 916 F.2d at 744). No such roadmap has been provided here.
           Indeed, if the MWPA retaliation provisions were interpreted as Ms. Worthy urges, the
           exception to Maine Supreme Judicial Court's holding in Fuhrmann would become the
           rule since an aiding and abetting allegation would necessarily survive a motion to dismiss
           and might even survive a motion for summary judgment, causing non-employers to fall
           within the MWPA in a manner contrary to Fuhrmann. The Court declines to create an
           exception to the Fuhrmann rule based on the aiding and abetting provision of the
           MWPA.

United States ex rel. Worthy v. E. Maine Healthcare Sys., No. 2:14-CV-00184-JAW, 2017 WL

211609, at *33 (D. Me. Jan. 18, 2017).

           Although the Maine Law Court has yet to address the issue specifically with regard to

Section 4366, lower courts in Maine have, and in doing so, have rejected the arguments Plaintiff

makes here. Most recently in Furrow v. Hannaford Bros. Co., LLC, Pen-CV-22-0008 (May 16,

2022)1 the Penobscot County Superior Court granted a motion to dismiss a discrimination claim

pled against an individual, holding that the same argument Plaintiff raises here was “not

persuasive.” Id. 8. The court started its analysis by stating that Section 4572 – the section of

the MHRA specifically addressed by the Law Court in Furhmann – and Section 4633 are part of

a single statutory scheme that should be read in harmony and noting that “it would not be logical

to prohibit supervisor liability for violation of § 4572, yet permit supervisory liability for

violation of § 4633.” Id. at 9; see also Charette v. St. John Valley Soil & Water Conservation



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    A copy of the decision, which is not yet available on line, is attached hereto.

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Dist., No. 1:17-CV-35-GZS, 2017 WL 2683951, at *12 (D. Me. June 20, 2017) (“The [Law

Court] stated that its conclusion was not changed by the use of the phrase “any person” within

the definition of “employer” and in other provisions of the MHRA.“). It went on to observe that

the Law Court has consistently been guided by the federal court’s interpretation of Title VII in

construing the MHRA and under Title VII cases in the First Circuit and elsewhere have held that

there is no individual liability for employment discrimination under the federal law. Id. Finally,

it cited to the other state and federal court decisions that have held that there is no personal

liability under Section 4633. Id. at 10-11.

       In her opposition, Plaintiff does not acknowledge that the courts that have considered this

issue have rejected her argument. Rather, the “authority” she presents to support her position is a

2013 guidance issued by the Maine Human Rights Commission. The persuasiveness of that

guidance, however, has already been considered and rejected by this Court. Huard v. Kennebec

Cnty., No. 1:16-CV-00473-GZS, 2019 WL 1264864, at *2 (D. Me. Mar. 19, 2019) (“While

Plaintiff has cited a 2013 guidance memorandum from the Maine Human Rights Commission as

offering support for individual liability after Fuhrmann, the Court does not believe this memo

can override the clear case law that supports judgment as a matter of law in favor of the

individual Defendants named in this case.”); Charette v. St. John Valley Soil & Water

Conservation Dist., No. 1:17-CV-35-GZS, 2017 WL 2683951, at *12 (D. Me. June 20, 2017).

        In short, the argument Plaintiff makes with regard to the individual liability under the

Maine Human Rights Act is one that has been rejected repeatedly by the courts in Maine (in both

the state and federal system) that have considered it. This Court should reject it as well.

II.    Plaintiff Has Failed to Plausibly Plead Her Equal Protection and First Amendment
       Claims Against Any of the Individual Defendants




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       As this Court recently held in Wadsworth v. Maine Sch. Admin. Dist. 40/Reg'l Sch. Unit

40, No. 2:19-CV-00577-JAW, 2020 WL 5880471, at *17 (D. Me. Oct. 2, 2020):

       “To state an equal protection claim, the plaintiff must ‘show that the parties with whom
       he seeks to be compared have engaged in the same activity vis-à-vis the government
       entity without such distinguishing or mitigating circumstances as would render the
       comparison inutile.’ ” Raymond [v. Me. Sch. Admin. Dist. 6, No. 2:18-cv-00379-JAW,
       2019 WL 2110498 (D. Me. May 14, 2019)], 2019 WL 2110498, at *8 (quoting Cordi-
       Allen v. Conlon, 494 F.3d 245, 251 (1st Cir. 2007)). “[A] plaintiff needs to allege facts
       showing that ‘(1) the person, compared with others similarly situated, was selectively
       treated; and (2) that such selective treatment was based on impermissible considerations
       such as race, religion, intent to inhibit or punish the exercise of constitutional rights, or
       malicious or bad faith intent to injure a person.” Davis v. Coakley, 802 F.3d 128, 132-33
       (1st Cir. 2015) (quoting Rubinovitz v. Rogato, 60 F.3d 906, 910 (1st Cir. 1995)). The
       plaintiff must “identify and relate specific instances” of the defendant treating similarly
       situated persons differently, “instances which have the capacity to demonstrate that
       [plaintiffs] were singled ... out for unlawful oppression.” Buchanan v. Maine, 469 F.3d
       158, 178 (1st Cir. 2006) (alterations and emphasis in original) (quoting Rubinovitz, 60
       F.3d at 910). The plaintiff must also show that the defendant acted with a discriminatory
       intent. Lipsett, 864 F.2d at 896.

The burden on Plaintiff to state a First Amendment claim against the Individual Defendants is

similar: She must allege fact that plausibly establish (1) that she engaged in protected conduct;

(2) that she suffered adverse action and (3) “that the protected conduct was a substantial or

motivating factor in the adverse action.” Pollack v. Reg’l Sch. Unit 75, 12 F. Supp. 3d 173, 188

(D. Me. 2014). Plaintiff has failed in her burden here.

       First, with respect to the equal protection claim, although she argues that she plausibly

pled that she was treated differently from others similarly situated, a review of the paragraphs of

the Complaint she cites in support of this claim reveal that she has done no such thing. See Pl.

Memo at 6, citing Complaint ¶ 25 (“Throughout the events giving rise to this complaint, Ms.

Pelletier was employed by the Brewer School Department as an English Teacher at Brewer High

School”); ¶ 111 (quoting from Ms. Pelletier’s interview about her grievances against fellow

employers ); ¶ 120 (“On June 26, 2019 Principal Slowikowski informed MacDonald that the



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Curriculum Leader position for the next year would be given to Pelletier instead of

MacDonald”), ¶ 149 (“the other candidate was Pelletier”). What these allegations demonstrate is

nothing more than that Pelletier and Plaintiff were both teachers at the Brewer High School and

that one year Pelletier was appointed as Curriculum Director and MacDonald (who had also held

that position) was not.2

         Second, Plaintiff entirely fails to identify in her Complaint specific instances of

actionable conduct by specific Individual Defendants. With respect to Defendants Pelletier and

Wellman, the sine qua non of a Section 1983 claim is the allegation that the defendant was acting

under color of law when engaged in the conduct complained of. 42 U.S.C. § 1983; see also

Although Plaintiff alleges that Pelletier and Wellman harassed her, they had no supervisory

authority over her and there is nothing in the Complaint plausibly pleading that they were acting

under color of law.      The equal protection claim against the Wellman and Pelletier should

therefore be dismissed. Martinez v. Colon, 54 F.3d 980, 986 (1st Cir. 1995) (Coworker’s

“singularly personal frolic” of hazing plaintiff not state action because “[i]n general, section

1983 is not implicated unless a state actor’s conduct occurs in the course of performing an actual

or apparent duty of his office, or unless the conduct is such that the actor could not have behaved

in that way but for the authority of his office.”) See also,

Hughes v. Halifax County School Board, 855 F.2d 183, 184, 186–87 (4th Cir. 1988) (co-

workers’ taunts and a mock hanging of the plaintiff held not state action), cert. denied, 488 U.S.

1042, 109 S.Ct. 867, 102 L.Ed.2d 991 (1989); Ottman v. City of Independence, 341 F.3d 751,



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  Plaintiff also cites to ¶¶ 165 and 166 of her Amended Complaint where she attempts to cure the defects in her
pleading with two broad “[t]hreadbare recitals of the elements of a cause of action, supported by mere conclusory
statements” neither of which are sufficient to meet her burden on a motion to dismiss. Ashcroft v. Iqbal, 556 U.S.
662, 678 (2009).


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761–62 (8th Cir. 2003) (alleged sexual harassment by nonsupervisory co-worker held not state

action); Woodward v. City of Worland, 977 F.2d 1392, 1401 (10th Cir. 1992) (“Typically,

liability under the Equal Protection Clause for sexual harassment in the workplace is predicated

upon some authority that the wrongdoer has over the victim. Otherwise, it is difficult to establish

that the abusive action was perpetrated ‘under color of state law’ rather than as an essentially

private act of sexual harassment. The mere fact that all the participants were state employees or

that the offending acts occurred during working hours is not enough”).

       With respect to Defendants Palmer, Towle, Slowikowski and Ward-Downer, as set forth

in the Complaint and her Opposition, Plaintiff’s argument appears to be based on the theory that

these individuals allegedly failed to protect her from harassment by her colleagues. In order to

plead an equal protection claim for failure to protect, Plaintiff must plausibly plead that the

defendants against whom the claim was made had some degree of control over the wrongdoer,

and that they were either involved in, or a prime mover behind, the underlying violation.

Camilo-Robles v. Zapata, 175 F.3d 41, 43–44 (1st Cir. 1999). Here, other than the conclusory

allegations that the various Individual Defendants have violated Plaintiff’s right to equal

protection, Plaintiff has failed to plead facts to support this claim. Palmer, Towle, Slowikowski

and Ward-Downer are entitled to dismissal of the equal protection claims.

       Plaintiff’s arguments in support of her First Amendment claim suffer from the same

infirmities as her arguments in support of the equal protection claim, namely that she relies on

broad generalities and fails to support her argument with citation to specific facts about specific

individuals.

       Although Plaintiff claims that her motive in engaging in the speech that forms the basis

of her First Amendment claims was personal, she points to no case law – and there is none – that



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establishes that the speaker’s motive is the determinative factor in whether speech is within the

scope of job duties or not. The fact is that every single instance where Plaintiff alleges that her

First Amendment rights were violated involved either her advocacy for the rights of LGBTQ+

students at school or her own utilization of the school complaint process and thus the speech at

issue was unquestionably made in the course of her employment and not subject to protection.

       Here First Amendment claims against Pelletier and Wellman fail for the additional reason

that, as explained above, she has pled no facts that could support a contention that they were

cting under color of state law when they engaged in the conduct she complains of.

III.   The Individual Defendants Are Entitled To Qualified Immunity

       In the context of qualified immunity, “’[c]learly established’ means that, at the time of

the officer’s conduct, the law was sufficiently clear that every reasonable official would

understand that what he is doing is unlawful.” District of Columbia v. Wesby, 138 S. Ct. 577,

589 (2018) (quoting Ashcroft v. al-Kidd, 563 U.S. 731 (2011). Further, the rule “must be settled

law, which means it is dictated by controlling authority or a robust consensus of cases of

persuasive authority.” Id. at 589-90 (citations and internal quotation marks omitted). A rule that

is “suggested by then-existing precedent” is not “clearly established;” “[t]he precedent must be

clear enough that every reasonable official would interpret it to establish the particular rule the

plaintiff seeks to apply.” Id. Finally, an individual governmental official is entitled to immunity

unless “an objectively reasonable official in the defendant’s position would have known that his

conduct violated that rule of law.” Alfano v. Lunch, 847 F.3d 71, 75 (1st Cir. 2017)

       Here, although, as Plaintiff points out, it may have been clearly established that the equal

protection clause prohibits sexual harassment and the First Amendments protects complaints

about harassment, there is simply no clear principal of law that holds that individual English



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teachers may be violating a colleague’s constitutional rights when they are unkind to that

colleague, or school administrators may be liable under Section 1983 when they do not do

enough to address alleged harassment. Apart from the broad statements concerning the

unsurprising proposition that federal law prohibits protected class harassment and protects

people from speaking out about it, Plaintiff provides no case law that would indicate that the

Individual Defendants should have known that engaging in the conduct alleged in this Complaint

would hold them out to liability under Section 1983. It simply makes no sense that school

teacher would know that it was unlawful to call a co-worker a drama queen, stop responding to

her email or even be rude and hostile to her (Complaint ¶75), say that training run by a co-

worker the previous year was awful (Complaint ¶ 100), express that the group advised by a

colleage was like a religion (Complaint ¶ 59), or engage in any of the other minor workplace

unpleasantnesses alleged in the Complaint. The Individual Defendants are therefore entitled to

qualified immunity on Plaintiff’s Section 1983 claims.

                                         CONCLUSION

       For all of the foregoing reasons, as well as the reasons set forth in the Individual

Defendants’ initial brief, this Court should enter an order dismiss Plaintiff’s claims against them.



Dated: June 3, 2022                           /s/ Melissa A. Hewey
                                              Melissa A. Hewey
                                              Counsel for Defendants
                                              Gregg Palmer, Cheri Towle, Brent Slowikowski,
                                              Renita Ward-Downer, Paul Wellman, and Breanne
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